69 F.3d 542
    NOTICE:  Eighth Circuit Rule 28A(k) governs citation of unpublished opinions and provides that no party may cite an opinion not intended for publication unless the cases are related by identity between the parties or the causes of action.UNITED STATES of America, Appellee,v.Robert L. BOBO, Appellant.
    No. 95-2777.
    United States Court of Appeals, Eighth Circuit.
    Submitted:  Oct. 31, 1995.Nov. 3, 1995.
    
      Before BOWMAN, BEAM and MURPHY, Circuit Judges.
      PER CURIAM.
    
    
      1
      Robert L. Bobo appeals the judgment of conviction the district court1 entered upon his guilty plea to being a felon in possession of a firearm in violation of 18 U.S.C. Sec. 922(g)(1).  Relying on United States v. Lopez, 115 S.Ct. 1624 (1995), Bobo argues that Congress lacks authority to make a felon's possession of a weapon a federal crime.  Bobo's argument, however, is foreclosed by our recent holding in United States v. Rankin, 64 F.3d 338, 339 (8th Cir.1995) (per curiam) (rejecting Lopez challenge and holding Sec. 922(g) is clearly tied to interstate commerce).
    
    
      2
      Accordingly, the judgment is affirmed.
    
    
      3
      A true copy.
    
    
      
        1
         The Honorable Charles A. Shaw, United States District Judge for the Eastern District of Missouri
      
    
    